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Drug Addiction Treatment
   ghctotalhealth.org/drug-addiction/drug-addiction-treatment-2/




May 7, 2016 0 comments Article Drug Addiction
Drug addiction is a very complex disease caused by a person’s dependence on drugs. The
person initially takes the drug voluntarily but after repeated use over a period of time, it
becomes more an involuntary thing. The intake becomes compulsive and uncontrollable
mainly because of the effect the drugs have on the brain. By interfering with the chemicals
inside, drugs trick the person to keep taking them in order to feel normal. For example, initially,
drugs cause you to feel happy and energetic but eventually they disorient you and give rise to
many side effects. In addition to those, if the addict does not take drugs then he will be unable
to function properly.

Many people end up getting addicted to drugs. There are also instances of babies getting
addicted to drugs as the mother abused them during pregnancies. This causes them to be
born with withdrawal symptoms as the intake of drugs stops as soon as they are born. There
are many withdrawal symptoms that cause abusers to relapse to end the pain. These
symptoms include nausea, depression, panic, shaking of the body, difficulty breathing, and in
severe cases, heart attacks, strokes, and even death. As the symptoms get more and more
agonizing the addict ends up taking the drugs again to stop the pain. But since he has
developed a tolerance for it he needs to take it more frequently and in larger amounts.

It may seem like an unsolvable problem but it isn’t. There are many rehab centers to help with
the process. They start with detoxifying the abuser’s body to rid it of the drug present in it.
Medication is given to help ease the pain of the withdrawal, in some cases it is also given to
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prevent relapse. Such facilities advise patients to take residence so that they are in the
presence of doctors and therapists 24/7. It also helps because it is impossible to access drugs
and one is able to avoid all temptations. Away from the stress and worries of life, patients are
able to focus on their recovery.

The key is to stay for at least three months as the process isn’t purely a physical one but also
a psychological one. Therapists are present for that as well as to help with any other mental
disorders the person might be having. Disorders like depression and anxiety are often the
cause for drug use, so treating those help to prevent the person from relapsing.

There are two types of main therapies that are used: Cognitive behavioral therapy (CBT) and
motivational enhancement therapy (MET). CBT is mainly about controlling negative thought
patterns and preventing destructive behavior, as well as identifying triggers and coming up
with better ways to deal with them than turning to drugs. MET is where a therapist helps the
patient come up with the motivation necessary to deal with the treatment and stop relying on
drugs. In addition to these, there are traditional 12 step programs and nontraditional rehab
programs which constitute the main part of the treatment.

Drug addiction is a threat not only to the individual but also to the society as it increases crime
rates, domestic violence and a decrease in productivity. But the best way to deal with it is
getting treatment early on.

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